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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                  4:08CR3148
                                         )
             v.                          )
                                         )
ANGEL M. KOSKI,                          )                MEMORANDUM
                                         )                 AND ORDER
                   Defendant.            )
                                         )


      Angel M. Koski (Koski) has filed a Motion to Appoint Counsel (filing no. 460
and a Motion to Vacate Under 28 U.S.C. § 2255. (Filing no. 459). After initial
review, both motions will be denied.

       First, there is no right to counsel in a § 2255 proceeding. See, e.g., United
States v. Craycraft, 167 F.3d 451, 455 (8th Cir. 1999). Furthermore, the files and
records establish that Koski has a performance I.Q. of 116 (above average) and no
mental health problem that would render her incompetent. (Filing no. 186 (forensic
report).)

       Second, Koski’s claim that her counsel was ineffective fails because the files
and records establish that her counsel acted competently and because Koski cannot
show any prejudice. The government’s evidence–that Koski was a methamphetamine
“smurf” and part of conspiracy–was overwhelming. A trial would have been a
disaster for Koski. The record establishes that the plea agreement was explained to
Koski in great detail–including the appeal waiver– and the record establishes that
Koski personally asked that I accept the plea agreement. (E.g., filing no. 269, filing
no. 270, filing no. 394, filing no. 395.) Defense counsel was able to secure a
sentence at the low end of the Guidelines despite Koski’s criminal history score of VI
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and counsel was able to convince me to grant Koski a two level decrease for being
a minor participant over the objection of the probation officer and the government.
(Filing no. 352, filing no. 353.) To the degree that Koski claims that her counsel
failed to adequately consult her regarding the direct appeal, there is no showing that
the alleged lack of consultation caused any prejudice. That is particularly true
because there was an appeal waiver in the plea agreement. See United States v. Koski,
409 Fed. Appx. 971, 2011 WL 396085 (8th Cir. 2011).

       Finally, as is the custom, the Court of Appeals reappointed defense counsel to
handle the appeal and it took Koski’s motion for appointment of another lawyer up
when it considered the direct appeal. (See Court of Appeals Docket #09-3982, entries
dated 12/31/09 and 7/12/2010.) The Court of Appeals effectively denied Koski’s
motion for another free lawyer when it affirmed the conviction. I have no power to
rule that the Court of Appeals erred. In any event, and despite Koski’s argument to
the contrary, she has no Sixth Amendment right to choose who her appointed counsel
will be on appeal (or otherwise).

       IT IS ORDERED the Motion to Appoint Counsel (filing no. 460) and the
Motion to Vacate Under § 2255 (filing no. 459) are denied. A separate judgment will
be issued.

         DATED this 19th day of July, 2011.

                                                          BY THE COURT:
                                                          Richard G. Kopf
                                                          United States District Judge



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